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                                                                   20-mj-202-01-AJ
                                                         Case No.____________________

                                                         Filed Under Seal




                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

       I, Task Force Officer Michael Molloy, being first duly sworn, hereby depose and state as

follows:

                         INTRODUCTION AND AGENT BACKGROUND

       1.        I am an investigative or law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law to conduct

investigations of and to make arrests for offenses enumerated in Section 2516 of Title 18, United

States Code. I also am a "federal law enforcement officer" within the meaning of Rule 41 of the

Federal Rules of Criminal Procedure.

        2.       I make this affidavit, pursuant to Federal Rule of Criminal Procedure 41, and Title 18,

United States Code, Section 3117, in support of an application for a search warrant authorizing the

installation and use of a tracking device, for a forty-five (45) day period, on a black Jeep Grand

Cherokee with New Hampshire registration 74P45, Vehicle Identification Number

1C4RJFBG1GC334418 ("Target Vehicle") registered to Franklin Alberto MOVILIS FELIZ

(“MOVILIS FELIZ”), 1398 Elm ST Apt 15 Manchester, New Hampshire (the “Elm Street

Residence”) and believed to be used by MOVILIS FELIZ.

        3.       I am a graduate of the New Hampshire State Police Standards and Training Council.

I am currently a detective with the Hillsborough County Sheriff’s Office (“HCSO”), where I have



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been employed since November of 2004. In October of 2011, I was assigned to the Drug

Enforcement Administration (“DEA”) High Intensity Drug Trafficking Area Task Force and

deputized as a Task Force Officer.

        4.       As a HCSO detective and DEA Task Force Officer, I am authorized to investigate

violations of the laws of the United States, including violations of federal narcotics laws in Title 21

of the United States Code. I have received hundreds of hours of training in the field of narcotic

investigations and enforcement. Through my training and experience, I am familiar with the habits,

methods, routines, practices, and procedures commonly employed by people engaged in the

trafficking of illegal drugs.

        5.       I have participated in all aspects of drug investigations, including physical and

electronic surveillance, surveillance of undercover transactions, conducting undercover drug

transactions, the introduction of undercover agents, the execution of search warrants, the effecting of

arrests, and debriefings of defendants, informants and witnesses who had personal knowledge

regarding major narcotics trafficking organizations. I have also reviewed recorded conversations and

telephone, financial, and drug records. Through my training and experience, I have become familiar

with the manner in which illegal drugs are imported, transported, stored, and distributed, and the

methods of payment for such drugs. I have also become familiar with the manner in which narcotics

organizations utilize various forms of violence and intimidation in furtherance of their narcotics

trafficking activity, to protect their operations, members, narcotics, and narcotics proceeds.

        6.       Based upon my training, experience, and involvement in _prior investigations, I know

that individuals who distribute narcotics often utilize motor vehicles in order to obtain quantities of

controlled substances from their source of supply for distribution. I also know that individuals who are

engaged in the distribution of controlled substances utilize motor vehicles in order to transport controlled

substances to various locations in order to meet with and distribute controlled substances to prospective

purchasers. They also use motor vehicles to transport drug proceeds. Because individuals who are

involved in the distribution of controlled substances are highly cognizant of the presence of law


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enforcement, and often engage in counter-surveillance maneuvers while traveling in a motor vehicle, it is

frequently difficult for law enforcement to effectively conduct surveillance. The presence of a tracking

device on a motor vehicle which is being utilized for the distribution of controlled substances or the

transportation of drug proceeds is beneficial because it allows law enforcement to track the movement of

the vehicle effectively and to decrease the chance of detection.

        7.       In preparing this affidavit, I have prepared reports and reviewed reports prepared by other

investigators regarding witness interviews, surveillance, and other investigative efforts regarding this

investigation. In addition, I have discussed this investigation with other officers involved in the case.

Through my conversations with other officers and my analysis of reports prepared by other officers, I am

familiar with all aspects of this investigation. The information contained in this affidavit is submitted for

the sole purpose of supplying probable cause for the issuance of an order authorizing the government at

any hour of the day or night to install, monitor, maintain, and remove a mobile tracking device, which

transmits an electronic signal that can be used to detect the movement and location of the above described

Target Vehicle, and make surreptitious entry into the vehicle at any hour of the day or night to install the

mobile tracking device, maintain the mobile tracking device, or remove the mobile tracking device.

While this affidavit contains all the material information I am aware of that is pertinent to the requested

search warrant, it does not set forth all of my knowledge about this matter.

        8.       Based on the facts set forth in this affidavit, there is probable cause to believe, and I do

believe, that violations of Title 21, United States Code, Section 841(a)(l) and 846 (conspiracy to distribute

controlled substances) have been committed, are being committed, and will be committed by MOVILIS

FELIZ and others known and unknown. There is also probable cause to believe, and I do believe, that

MOVILIS FELIZ uses the Target Vehicle in furtherance of the aforementioned criminal violations.

Accordingly, I believe that the installation of a tracking device on the Target Vehicle and the use of the

tracking device for a forty-five (45) day period will lead to evidence, fruits, and instrumentalities of the

aforementioned crimes as well as to the identification of other co-conspirators who are engaged in the

commission of those and related violations of the law.


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                                               PROBABLE CAUSE

                                         Background of the Investigation

         9.       In September 2020 the Manchester, New Hampshire Police Department (“MPD”)

arrested an individual for domestic simple assault, possession with the intent to sell heroin, and

possession with the intent to sell cocaine. The individual later became a confidential source (“CS-

1”). 1

         10.      CS-1 told law enforcement officers that the 250 grams of heroin/fentanyl seized

during his/her arrest was purchased from his/her drug supplier who he/she knows as a Dominican

male who works at a barbershop on Union Street in Manchester, New Hampshire. As described in

detail below, investigators were able to identify the drug supplier as MOVILIS FELIZ, and therefore

I will refer to him by his name even though CS-1 did not know his true identity. CS-1 told law

enforcement officers he/she has purchased drugs from MOVILIS FELIZ for approximately 6-8

months. CS-1 typically purchases 20-50 fingers of heroin/fentanyl (200-500 grams) 2-3 times per

month for the price of approximately $150 per 10 grams. 2 On less frequent occasions CS-1 has

purchased 200-300 grams of cocaine from MOVILIS FELIZ for approximately $10,000 to $12,000.

CS-1 coordinates purchases from MOVILIS FELIZ by telephone.

         11.      According to CS-1, over the past 6-8 months MOVILIS FELIZ changed his

telephone number several times and is currently utilizing telephone number 1-8573356227

(“MOVILIS FELIZ’s phone”). CS-1 frequently meets with and purchases drugs from MOVILIS



1
  CS-1 has been previously convicted of armed robbery, possession of a class B substance with the intent to
distribute (2005), possession of class B substance and three counts possession of class A substance (2003), and
parole violation. CS-1 has been previously charged with trespassing, receiving a stolen motor vehicle, public
drinking, resisting arrest, possession with intent to distribute class D substance and committing a drug violation near
school or park for which his/her criminal history does not reflect a conviction or any other disposition. CS-1 has
been cooperating in this investigation in hopes of receiving favorable treatment with respect to his/her current
charges. When possible, information provided by CS-1 has been corroborated by independent evidence.
2
  I know, based on my training and experience, that heroin and fentanyl are commonly substituted for and/or mixed
with each other. It is not always possible to determine whether a substance contains heroin, fentanyl, or both by
visual inspection, As I have not yet received lab results for drugs acquired during this investigation, I will refer to
the drugs in this affidavit as heroin/fentanyl.


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FELIZ in public locations in the Manchester, New Hampshire area. Prior to CS-1’s period of

cooperation with law enforcement he/she often saw MOVILIS FELIZ arrive at these locations while

driving a Honda sedan or as a passenger on a motorcycle.

                                 Identification of MOVILIS FELIZ

       12.     On September 1, 2020, at approximately 2:00 p.m., CS-1 told controlling

investigators he/she just personally spoke with MOVILIS FELIZ near the barbershop where

MOVILIS FELIZ works. CS-1 told investigators MOVILIS FELIZ was sitting in the barbershop’s

alleyway and wearing a red baseball hat. Based on CS-1’s description investigators established

surveillance in the area of B&P Barbershop located at 324 Union Street in Manchester, New

Hampshire and eventually observed the individual described by CS-1 enter the Target Vehicle.

Investigators obtained an MPD booking photograph of MOVILIS FELIZ, who is the Target

Vehicle’s registered owner, and determined that MOVILIS FELIZ was the same individual

described by CS-1. Additionally, according to the New Hampshire Department of Motor Vehicles,

in addition to the Target Vehicle, until May 31, 2020, MOVILIS FELIZ was the registered owner of

a black Honda Accord, consistent with the vehicle CS-1 had previously seen MOVILIS FELIZ

driving, and is the current registered owner of a Suzuki Motorcycle. A Facebook profile for

MOVILIS FELIZ contains a picture of MOVILIS FELIZ outside the rear of the Elm Street

Residence, the registered address of the Target Vehicle.

                                  September 1, 2020 Surveillance

       13.     On September 1, 2020, investigators utilized CS-1 to schedule a controlled purchase

of heroin/fentanyl from MOVILIS FELIZ. Earlier that afternoon CS-1 spoke with MOVILIS FELIZ

near B&P Barbershop and MOVILIS FELIZ agreed to conduct a later sale of 200 grams of

heroin/fentanyl with CS-1. At approximately 8:05 p.m., while in the presence of controlling

investigators, CS-1 received a call from MOVILIS FELIZ. MOVILIS FELIZ indicated he had

worked late but was going to pick up the drugs now and meet with CS-1. Investigators conducting

surveillance of B&P Barbershop observed MOVILIS FELIZ exit the barbershop and enter the Target


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Vehicle. The Target Vehicle was followed to 576 Lincoln Street Manchester, New Hampshire

(“Lincoln Street Residence”). 3 MOVILIS FELIZ parked the Target Vehicle nearby and entered the

Lincoln Street Residence using a side entrance. Moments later, MOVILIS FELIZ returned to the

Target Vehicle and left the area. Surveillance officers attempted to follow the Target Vehicle which

traveled down alleyways and made multiple U-turns. MOVILIS FELIZ eventually drove to the area

of the Elm Street Residence and parked. Around this time CS-1 received a text from MOVILIS

FELIZ’s phone which stated ‘I got the stuff I’ll see you at 10.’ MOVILIS FELIZ exited the Target

Vehicle and entered a common exterior door at the Elm Street Residence.

        14.      Approximately fifteen minutes later, MOVILIS FELIZ exited from a common

exterior door at the Elm Street Residence and drove away in the Target Vehicle. Surveillance

officers attempted to the follow the Target Vehicle which immediately made a U-turn and drove

through the inner city of Manchester in such a way that investigators lost sight of the vehicle

multiple times. While still in the presence of controlling investigators CS-1 received a phone call

from MOVILIS FELIZ who postponed the drug transaction until 10:00 a.m. the following day.

Based on my training and experience, I know that drug traffickers often attempt to conduct counter

surveillance by making frequent U-Turns, driving evasively, and taking unusual routes to try to

determine whether they are being followed.

                                   September 2, 2020 Controlled Purchase

        15.      On September 2, 2020, at approximately 9:40 a.m., controlling investigators met with

CS-1 at a neutral location in Manchester, New Hampshire in order to complete the previously

arranged controlled purchase. CS-1 told investigators he/she received a call from MOVILIS FELIZ

that morning who instructed CS-1 to meet soon at a Family Dollar Store located in a shopping plaza



3
 CS-1 told investigators that in early August of 2020 MOVILIS FELIZ directed CS-1 to an address on Lincoln
Street near Hanover Street to pick up 500 grams of heroin/fentanyl. CS-1 sent a runner to this address who picked
up the drugs and brought them to CS-1. CS-1 does not recall the exact address provided by MOVILIS FELIZ but I
believe this transaction may have occurred at the Lincoln Street Residence which is located approximately 1/10 of a
mile north of Hanover Street.


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paralleled by Lincoln and Wilson Streets in Manchester, New Hampshire.

       16.     Controlling investigators searched but did not find CS-1 in possession of any

currency or contraband. CS-1 was provided $3,500 in currency and a recording device before

leaving controlling investigators. CS-1 walked to the Family Dollar Store and remained outside

under continuous surveillance. Around this time officers conducting surveillance at B&P

Barbershop observed MOVILIS FELIZ enter the Target Vehicle. Shortly after MOVILIS FELIZ

drove away, surveillance officers decided not to follow him because he drove the Target Vehicle

through alleyways instead of main roads in such a manner that law enforcement surveillance efforts

might be easily discovered.

       17.     At approximately 9:54 a.m. the Target Vehicle arrived and parked at the intersection

of nearby Wilson and Grove Streets. MOVILIS FELIZ, who remained the operator and sole

occupant of the Target Vehicle, exited and walked inside the Family Dollar Store. When doing so

MOVILIS FELIZ bypassed CS-1 and greeted another unidentified male (later identified during an

unrelated MPD investigation as Jose Polanco DIAZ (“DIAZ”)) waiting outside the store. A few

minutes later MOVILIS FELIZ left the store and spoke with CS-1. Surveillance officers observed

CS-1 and MOVILIS FELIZ walk to the Target Vehicle during which time CS-1 handed MOVILIS

FELIZ a bag containing the currency. MOVILIS FELIZ got into the driver’s seat of the Target

Vehicle and CS-1 entered on the front passenger side. CS-1 exited the Target Vehicle after a few

moments and MOVILIS FELIZ drove away.

       18.     Investigators followed MOVILIS FELIZ as he drove the Target Vehicle to a nearby

store. Though MOVILIS FELIZ remained in the store for approximately 10 minutes investigators

did not see MOVILIS FELIZ re-enter the Target Vehicle with a purchase. During this time period

DIAZ left the Family Dollar and walked to the MPD. DIAZ remained near the MPD for several

moments with a vantage point affording the opportunity to monitor vehicle traffic in and out of the

police department lot. Based on observations of DIAZ and MOVILIS FELIZ, I believe that DIAZ

may have acted as a lookout during the drug purchase. MOVILIS FELIZ travelled back to B&P


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Barbershop at which time surveillance was ended.

       19.     CS-1 remained under continuous surveillance until he/she met with controlling

investigators at a nearby neutral location. CS-1 turned over approximately 300 grams of a substance

that based on its color and packaging as “fingers,” a slang term for ten-gram packages of drugs that

are shaped like human fingers, I believe, based on my training and experience, to be consistent with

heroin/fentanyl. I have not yet received lab results. Controlling investigators searched CS-1 with

negative results. CS-1 told officers that MOVILIS FELIZ exchanged the drugs for $3,500. CS-1

stated as soon as he/she entered the Target Vehicle MOVILIS FELIZ handed a bag containing the

drugs to CS-1. MOVILIS FELIZ indicated there was 30 (an apparent reference to fingers) and told

CS-1 that was the way the package came after CS-1 told MOVILIS FELIZ he/she only paid for 20

fingers. CS-1 also told investigators he/she believed DIAZ was friendly with MOVILIS FELIZ

based on the manner in which they greeted.

                               September 9, 2020 Controlled Purchase

       20.     On September 9, 2020, controlling investigators used CS-1 to conduct a second

controlled purchase of 200 grams of heroin/fentanyl from MOVILIS FELIZ. That afternoon, CS-1

contacted MOVILIS FELIZ’s phone in order to arrange a later purchase of 200 grams of heroin/fentanyl.

MOVILIS FELIZ agreed to sell the drugs to CS-1 at the Family Dollar Store in Manchester, New

Hampshire at 6:00 p.m. that evening.

       21.     At approximately 2:40 p.m., investigators drove by the Lincoln Street Residence and saw

the Target Vehicle parked and unoccupied on nearby Derry Street. At approximately 5:40 p.m.,

surveillance was established at B&P Barbershop and the Lincoln Street Residence. Investigator’s saw

MOVILIS FELIZ working inside the barbershop and observed the Target Vehicle still parked near the

Lincoln Street Residence.

       22.     At approximately 5:51 p.m., controlling investigators met CS-1 at a neutral location in

Manchester, New Hampshire. Controlling investigators searched but did not find CS-1 in possession

of any currency or contraband. CS-1 was provided $1,500 in U.S. currency and a recording device.


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The $1,500 was to be used to pay MOVILIS FELIZ for the extra 100 grams of heroin/fentanyl

provided during the September 2nd controlled purchase. CS-1 also intended to purchase the

additional 200 grams of heroin/fentanyl on credit.

        23.    At approximately 6:13 p.m., while in the presence of controlling investigators, CS-1

called MOVILIS FELIZ’s phone. MOVILIS FELIZ answered the call and said “give me ten

minutes.” A short time later MOVILIS FELIZ left B&P Barbershop on a motorcycle that matched

the description of the Suzuki motorcycle registered in his name. MOVILIS FELIZ drove to 211 Hall

Street in Manchester, New Hampshire and parked in the driveway. Shortly after, investigators saw a

Ford Explorer (the “Explorer”) registered to Yeffri Santana SIERRA (“SIERRA”) depart from 211

Hall Street.

        24.    Investigators followed the Explorer to Wilson and Summer Streets in Manchester,

New Hampshire which is located near the Family Dollar Store. Investigators confirmed MOVILIS

FELIZ was the Explorer’s front passenger. CS-1, who was already waiting at the Family Dollar

Store and being monitored by controlling investigators, walked to the passenger side of the Explorer.

After a brief meeting the Explorer left the area and CS-1 returned to controlling investigators.

        25.    The Explorer was followed to B&P Barbershop. MOVILIS FELIZ exited and sat on

a nearby railing. The operator of the explorer, who was identified by his driver’s license photo as

the registered owner, SIERRA, exited and joined MOVILIS FELIZ. SIERRA wore a similar red

shirt as MOVILIS FELIZ which based on previous surveillance is consistent with the attire of B&P

Barbershop employees. For the next several minutes MOVILIS FELIZ and SIERRA frequently

turned their heads while watching cars pass by and on one occasion SIERRA pointed at a motor

vehicle. Investigators decided to end surveillance as they believed MOVILIS FELIZ and SIERRA

might be attempting to identify vehicles used by undercover law enforcement officers.

        26.     CS-1 remained under continuous surveillance until he/she met with controlling

investigators at a nearby neutral location. CS-1 turned over approximately 200 grams of a substance

that based on its color and packaging as fingers, I believe, based on my training and experience, to


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be consistent with heroin/fentanyl though lab results have not yet been received. Controlling

investigators searched CS-1 with negative results. CS-1 told officers that while waiting at the

Family Dollar Store he/she received a call from MOVILIS FELIZ and was directed to the Explorer’s

location. CS-1 walked to the Explorer and handed the $1,500 to MOVILIS FELIZ who sat in the

front passenger seat. MOVILIS FELIZ asked CS-1 if he/she was paying $4,500. CS-1 explained

he/she was only providing payment for the remaining balance of the September 2nd purchase and

would pay for this 200 grams next week. MOVILIS FELIZ acknowledged and provided CS-1 with

20 fingers of heroin/fentanyl. MOVILIS FELIZ also indicated he had cocaine available for sale.

CS-1 recognized SIERRA as another employee of B&P Barbershop who drove MOVILIS FELIZ to

drug deals on previous occasions.

                          September 15, 2020 Surveillance of Target Vehicle

         27.   On September 15, 2020, at approximately 9:00 a.m., I observed the Target Vehicle

parked and unoccupied near the Lincoln Street Residence. Near the Lincoln Street Residence, I also

saw a Toyota Camry, with New Hampshire registration 10P77 and registered to Maritza

RODRIGUEZ DE LOS SANTOS, who, I know through social media posts, is the wife of MOVILIS

FELIZ.

         28.   At approximately 10:30 a.m., the Target Vehicle left the area of the Lincoln Street

Residence and went to a Granite State Credit Union where it went through the drive through lane.

The Target Vehicle then drove to B&P Barbershop and parked behind my vehicle. I saw that

MOVILIS FELIZ was the driver and only occupant of the Target Vehicle. MOVILIS FELIZ stayed

in the Target Vehicle for approximately 10 minutes before leaving the area.

         29.   MOVILIS FELIZ then drove the Target Vehicle to 299 Cedar Street in Manchester,

New Hampshire. MOVILIS FELIZ was let into the building and approximately 10 minutes later, he

exited the building, followed by SIERRA. SIERRA got into the Explorer and MOVILIS FELIZ got

into the passenger seat. The two drove to Boston for what appeared to be a shopping trip and

surveillance was ended.


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        30.     On September 17, 2020, at the direction of officers, CS-1 met with MOVILIS FELIZ

to pay him $3,000 owed from the previous drug purchase. During this meeting, officers followed the

same procedures discussed with respect to the previous controlled purchases. CS-1 met with

MOVILIS FELIZ in an alley in Manchester and provided MOVILIS FELIZ with a bag containing

the money. Officers then observed MOVILIS FELIZ take the bag and toss it into the Target Vehicle

before returning to work in the barber shop. CS-1 reported that when they met, MOVILIS FELIZ

told him to be careful because the police were out. He advised CS-1 that when driving, if you take

three turns and the same person is behind you, it means that the police are following you. This

statement confirmed that MOVILIS FELIZ remains very aware of law enforcement surveillance

especially when driving.

                         Installation of Tracking Device on the Target Vehicle

        31.     On September 17, 2020, United States Magistrate Judge Andrea K. Johnstone

authorized the installation and monitoring of a tracking device on the Target Vehicle for a 45-day

period. Investigators installed the device on September 22, 2020. The device was helpful in

allowing officers to conduct surveillance of MOVILIS FELIZ during the time frame it was

monitored. The period of monitoring has since expired but the device remains on the Target Vehicle.

Officers have not monitored its movements since the previous warrant expired.

        32.     On several occasions, officers noticed that the tracking device (and therefore Target

Vehicle) went to Home Depot for about 15-20 minutes each time. Officers received surveillance

video from the Home Depot for September 23, 2020, September 28, 2020, and October 13, 2020. On

each occasion, the video revealed MOVILIS FELIZ entering the store, going down an aisle with no

cameras and either leaving without purchasing anything or purchasing something small like a water

bottle. Officers suspect that he may meet a drug associate in the store (consistent with how he meets

CS-1 in the dollar store). Officers have also observed that the Target Vehicle frequents the parking

lot of the Mall of New Hampshire for brief periods of time. Officers know that drug transactions

often take place in this parking lot as well.


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                                   Additional Controlled Purchases

       33.     On or about September 25, 2020, CS-1 conducted another controlled purchase of

drugs from MOVILIS FELIZ. The same procedures discussed in the affidavit for the previous

controlled buys were undertaken. On this date, MOVILIS FELIZ was observed driving a dirt bike.

He ultimately instructed CS-1 to enter a dollar store, where he left a bag containing drugs on a shelf

in the store, instructing CS-1 to pick up the drugs from the shelf. CS-1 did so and provided officers

with approximately 300 grams of a mixture and substance consistent with heroin/fentanyl.

       34.     On or about October 2, 2020, CS-1 contacted MOVILIS FELIZ to pay him back for

the drugs purchased on September 25, 2020. Officers provided CS-1 with $4,350 and underwent the

same procedures as the other controlled buys discussed in this affidavit. MOVILIS FELIZ instructed

CS-1 to come by the barbershop. CS-1 entered the barbershop and found MOVILIS FELIZ cutting

someone’s hair. MOVILIS FELIZ pointed toward an open drawer in his barber stand and CS-1 put

the money inside before leaving the shop.

       35.     On various occasions in October 2020, CS-1 reached out to MOVILIS FELIZ

without receiving a response. On October 21, 2020, CS-1 sent a text message ordering

approximately 200 grams of heroin/fentanyl and MOVILIS FELIZ responded “ok” but never

followed up about conducting a purchase. On or about November 6, 2020, officers arranged for CS-1

to meet up with MOVILIS FELIZ on the street. When they met, MOVILIS FELIZ told CS-1 that he

thought he was being watched by the police and described several vehicles he believed had been

following him. He nevertheless agreed to sell 300 grams to CS-1 on November 7, 2020. MOVILIS

FELIZ told CS-1 he would meet in the afternoon to conduct the deal.

       36.     On November 7, 2020, CS-1 texted MOVILIS FELIZ stating CS-1 was available and

had the money. MOVILIS FELIZ texted CS-1 stating he was not ready yet but would meet with CS-

1 around 4-5 p.m. At approximately 1:20 p.m., Detectives observed MOVILIS FELIZ leave the

barber shop in the Target Vehicle. MOVILIZ FELIZ left the area at a high rate of speed and

Detectives were unable to follow and lost sight of his vehicle.


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        37.      Approximately, thirty minutes later, Detectives observed MOVILIS-FELIZ had

arrived back at the barber shop in the Target Vehicle. CS-1 never received another message from

MOVILIZ FELIZ as Detectives observed him working all night and the drug purchase never

occurred.

                           Use of Tracking Device to Further the Investigation

        38.      I know that MOVILIS FELIZ is conscious of law enforcement surveillance. Officers

have observed MOVILIS FELIZ conduct what appears to be counter-surveillance driving maneuvers and

he may utilize lookouts while conducting drug transactions. He has told CS-1 that he believes law

enforcement officers are following him and even instructed CS-1 on how to engage in counter

surveillance. I also believe that MOVILIS FELIZ changes his telephone number with frequency and may

store drugs and drug proceeds at locations other than his primary residence in order to thwart law

enforcement scrutiny.

        39.      Based on my training and experience, the events described above indicate that MOVILIS

FELIZ is the primary operator of the Target Vehicle and has used the Target Vehicle to further his drug

trafficking in multiple ways. During the September 2, 2020 controlled purchase MOVILIS FELIZ

utilized the Target Vehicle to store and transport drugs while conducting a hand to hand drug transaction

with CS-1. MOVILIS FELIZ has put drug proceeds in the Target Vehicle on occasion as well. During

the previous period of monitoring, he is the only person I observed operating the Target Vehicle.

        40.      Other investigators and I seek to conduct surveillance of drug transactions, locate stash

houses and distribution locations and identify other individuals, including sources of supply, who may

assist MOVILIS FELIZ in his drug trafficking activities. The installation and monitoring of a tracking

device on the Target Vehicle would expand the limited capabilities of this investigation and would

enhance investigators’ ability to follow the movements of MOVILIS FELIZ and any unidentified co-

conspirators while decreasing the chance of detection. This affiant and other involved investigators plan

to utilize this information to assist with the possible interdiction of future drug deliveries as well as to

assist in identifying sources of supply, customers, stash locations, and locating other evidence that will


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assist us in learning the full nature and scope of MOVILIS FELIZ’s criminal operation.

                                    AUTHORIZATION REQUEST

        41.     Based upon the facts set forth above, I respectfully request that the Court issue the

proposed search warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 3177,

that authorizes members of the DEA, the MPD, or their authorized representatives, including but not

limited to other law enforcement agents and technicians assisting in the above-described

investigation, to install/maintain a mobile tracking device in or on the Target Vehicle within the District

of New Hampshire within ten (10) calendar days of the issuance of the proposed warrant, to maintain,

repair, and/or replace the tracking device as necessary, and to remove said tracking device from

the Target Vehicle after the use of the tracking device has ended and to install, maintain, and remove

the tracking device during both daytime and nighttime hours. I further request authorization to move the

Target Vehicle to effect the installation, repair, replacement, and removal of the tracking device and

to monitor the tracking device for a period of forty-five (45) days following the installation of the

device, including when the tracking device is inside private garages and other locations not open to

the public or visual surveillance, both within and outside the District of New Hampshire.




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        42.      In accordance with 18 U.S.C. § 3103a(b) and Federal Rule of Criminal Procedure

41(f)(3), I further request that the warrant delay notification of the execution of the warrant for 30 days

after the end of the authorized period of tracking (including any extensions thereof) because there is

reasonable cause to believe that providing immediate notification may have an adverse result, as defined

in 18 U.S.C. § 2705. Providing immediate notice would seriously jeopardize the ongoing investigation by

prematurely revealing its existence and giving suspects an opportunity to flee from prosecution, destroy

or tamper with evidence, intimidate potential witnesses, notify confederates, and change patterns of

behavior.

                                                           Respectfully Submitted,

                                                           /s/ Michael K. Molloy
                                                           Michael K. Molloy
                                                           Task Force Officer
                                                           Drug Enforcement Administration


The affiant appeared before me by telephonic conference on this date pursuant to Fed. R. Crim. P. 4.1 and
affirmed under oath the content of this affidavit and application.



Honorable Andrea K. Johnstone
United States District Judge
District of New Hampshire
Dated: November 10, 2020




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